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                          UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF NEW YORK




DAVID FARHI,
            Plaintiff,                                  Civil Action No. 1:12-cv-01081-JG-RLM
v.
PENTAGROUP FINANCIAL, L.L.C.
            Defendant.




              MOTION TO BE ADMITTED AS PRO HAC VICE COUNSEL

       Pursuant to Local Rule 1.3c, Robert Amador, moves to be admitted pro hac vice to

represent David Farhi in the above-captioned case, and states as follows:

       1.      I am a member in good standing of the California State Bar.

       2.      I have attached an Affidavit in support of being admitted counsel pro hac vice.

       3.      I have received online tutorial ECF training and actively use ECF systems in

various U.S. District Courts.



               WHEREFORE, in accordance with Los Rule 1.3c, I respectfully request

admission as attorney pro hac vice for Plaintiff.




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Date: March 26, 2012




                                     _______________________________________

                                     ROBERT AMADOR, ESQ.
                                     Attorney for Plaintiff DAVID FARHI
                                     9452 Telephone Rd. 156
                                     Ventura, CA. 93004
                                     (888)308-1119 ext. 11
                                     R.Amador@centenniallawoffices.com




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                            CERTIFICATE OF SERVICE

       I certify that on this date, April 2, 2012, I mailed a copy of the foregoing MOTION TO

BE ADMITTED AS PRO HAC VICE COUNSEL, First Class U.S. Mail, to the following party:


Pentagroup Financial, LLC
5959 Corporate Drive, Suite 1400
Houston, TX 77036




                                           ________________________________________
                                           ROBERT AMADOR, ESQ.
                                           Attorney for Plaintiff DAVID FARHI
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                         UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NEW YORK




DAVID FARHI,
           Plaintiff,                              Civil Action No. 1:12-cv-01081-JG-RLM
v.
PENTAGROUP FINANCIAL, L.L.C.
           Defendant.




        ORDER GRANTING MOTION TO ADMIT PRO HAC VICE COUNSEL

       Upon consideration of Robert Amador’s Motion To Be Admitted As Pro Hac Vice

Counsel (“Motion”), Affidavit in support of being admitted counsel pro hac vice, and the

relevant authorities, the Court concludes that the Motion should be GRANTED.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that Robert Amador’s

Motion To Be Admitted As Pro Hac Vice Counsel is GRANTED.


       It is so ORDERED.

       Signed this ______ day of ___________________, 2012.


                                            __________________________________

                                     ( ) UNITED STATED JUDGE JOHN GLEESON
                                     ( ) UNITED STATED MAGISTRATE JUDGE ROANNE
                                     L. MANN


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